         Case 1:14-bk-10390                  Doc 92       Filed 02/13/18 Entered 02/13/18 12:59:38                        Desc Ch.
                                                        13 Discharge Page 1 of 2
Information to identify the case:
Debtor 1              Kenneth E Bell                                                  Social Security number or ITIN   xxx−xx−8069

                      First Name   Middle Name   Last Name                            EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                              Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                      EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Southern District of Ohio

Case number: 1:14−bk−10390               Case Assigned To: Jeffery P. Hopkins




Order of Discharge                                                                                                                   12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

                Kenneth E Bell

                2/13/18                                                         By the court: Jeffery P. Hopkins
                                                                                              United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                  Most debts are discharged
                                                                                Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                       not all. Generally, a discharge removes the
This order means that no one may make any                                       debtors' personal liability for debts provided for
attempt to collect a discharged debt from the                                   by the chapter 13 plan.
debtors personally. For example, creditors cannot                               In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                     rules protect certain community property owned
otherwise try to collect from the debtors personally                            by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                               not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                   Some debts are not discharged
debtors damages and attorney's fees.                                            Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a                                        ♦ debts that are domestic support
claim against the debtors' property subject to that                                    obligations;
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.                                          ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).                                            ♦ debts for certain types of taxes specified
                                                                                       in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                       523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                       extent not paid in full under the plan;



                                                                                            For more information, see page 2




Form 3180W                                                   Chapter 13 Discharge                                       page 1
     Case 1:14-bk-10390       Doc 92     Filed 02/13/18 Entered 02/13/18 12:59:38             Desc Ch.
                                       13 Discharge Page 2 of 2




    ♦ debts that the bankruptcy court has                         ♦ debts for restitution, or damages,
      decided or will decide are not discharged                     awarded in a civil action against the
      in this bankruptcy case;                                      debtor as a result of malicious or willful
                                                                    injury by the debtor that caused
                                                                    personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,                 death of an individual; and
      or criminal restitution obligations;

                                                                  ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                          caused by operating a vehicle while
      properly list;                                                intoxicated.


    ♦ debts provided for under 11 U.S.C. §                 In addition, this discharge does not stop
      1322(b)(5) and on which the last payment             creditors from collecting from anyone else who
      or other transfer is due after the date on           is also liable on the debt, such as an insurance
      which the final payment under the plan               company or a person who cosigned or
      was due;                                             guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed              This information is only a general
      if obtaining the trustee's prior approval of          summary of a chapter 13 discharge; some
      incurring the debt was practicable but was            exceptions exist. Because the law is
      not obtained;                                         complicated, you should consult an
                                                            attorney to determine the exact effect of
                                                            the discharge in this case.




Form 3180W                                 Chapter 13 Discharge                              page 2
